          Case:13-07511-MCF7 Doc#:54 Filed:03/03/16 Entered:03/03/16 16:19:23                                                               Desc: Main
                                    Document Page 1 of 2



    Debtor     1             CLARISOL CRESPO MELENDEZ

    Debtor 2
 (Spouse'rf, filing)


    United States Bankruptcy Court for lhe:          DISTRICT OF PUERTO RICO

 Casenumber 3:13-bk-7511
 (if known)
                                                                                                                                  E    Check if this is an
                                                                                                                                       amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                           't2J't5

ff       you are an individual filing under chapter 7, you must fill out this form if:
I         creditors have claims secured by your property, or
I you have leased personal property and the lease has not exiired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditor and lessors you list on
        the form

lf two married people are filing together in a ioint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
                   write your name and case number (if known).

EEFII              ListYour Greditors Who Have Secured Claims

1    .   For any creditors that you listed in Part   I   of Schedule D: Creditors Who Have Claims Secured by Propefty (Official Form 106D),      fill in the




          Creditot's Banco Popular De Puerto Rico                          E Sunenderthe property.                              E tto
          name:                                                            E Retain the properly and redeem it.
                                                                           I Retain the properg and srter into a Rea ffirmation I ves
                of
          Description       DEBTOR OWNS A HOUSE                                Agreement.
          prooertv          LOCATED AT URB BOSQUE DE                       E   Retain lhe properly and [eplain]:
          securing   debt   LA SIERRA, C'09' BO



          Creditot's Empresas Berrios Inc                                  E Sunenderthe property.                             E tto
          name:                                                            E Retain the property and redeem it.
                                                                           I Retain the prope0 and enter into a Rea ffirmation I Yes
          Description of    MISC HOUSEHOLD GOODS                               Agreement.
          property          AND FURNISHINGS                                E   Retain the property and [eplain]:
          securing debt:



          Creditods First Bank Auto Loans Department                       E   Sunender the property.                             lNo
          name:                                                            E Retain the property and redeem it.
                                                                           I Retain the property and enter into a Reaffrrmation   E   Yes
                of
          Description       2011 KIA SORENTO - 24000                           Agreement.
          property          MILES                                          E   Retain the property and [eplain]:



Official Form 108                                        Statement of lntention for Individuals Filing Under Ghapter 7                                         page   1


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    Case:13-07511-MCF7 Doc#:54 Filed:03/03/16 Entered:03/03/16 16:19:23                                                              Desc: Main
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 Debtor   1    CRESPO MELENDEZ, CLARISOL                                                            Case number(tk    own) 3:13-bk-7511

    securing debt:



Foranyunexpiredpersonalproperty|easethatyoulistedinScheduleG:ExecutorycontractsandUn
the information below Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. you
may assume an unexpired personal property lease if the trustee does not assume it. ll U.S,C, S 365(pX2).




 Lesso/s name:                                                                                                            E    tto
 Description of leased
 Property:
                                                                                                                          E    Yes

 Lessor's name:                                                                                                           tr
 Description of leased
 Property:
                                                                                                                          tr
 Lessor's name:                                                                                                           tr   No
 Description of leased
 Property:
                                                                                                                          tr   Yes

 Lessor's name:                                                                                                           tr   No
 Description of leased
 Property:
                                                                                                                          tr   Yes

 Lesso/s name:                                                                                                            tr   No
 Description of leased
 Property:
                                                                                                                          tr   Yes

 Lessods name:                                                                                                            tr   No
 Description of leased
 Property:
                                                                                                                          tr
 Lessods name:                                                                                                            tr
 Description of leased
 Property:
                                                                                                                          tr   Yes


EEEI          sisn eelow

Under             of           I declare   that I h(ve indicated my intention about any property of my estate that secures a debt and any personal
                F               an


                                                                                      Signature of Debtor 2



                       s lslao tt"                                                 Date




Official Form 108                                     Statement of lntention for lndividuals Filing Under Chapter 7                                  page 2

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